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07                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
08                                      AT SEATTLE
09 UNITED STATES OF AMERICA,              )
                                          )
10         Plaintiff,                     )
                                          )           Case No. CR99-600-JCC
11         v.                             )                    (05-360M)
                                          )
12   TIMOTHY WOO,                         )
                                          )           DETENTION ORDER
13         Defendant.                     )
     ____________________________________ )
14
     Offenses charged:
15
            No. CR99-600-JCC
16
            Count I: Conspiracy to import and distribute marijuana in violation of 21 U.S.C. §§
17
     841(a)(1), 841(b)(1)(B), 846, 952(a), 960(a)(1), 960(b)(4), and 963.
18
            Count III:   Forfeiture - Drug Offense in violation of 21 U.S.C. §§ 841(a)(1),
19
     841(b)(1)(b), 846, and 853.
20
            No. 05-360M
21
            Count I: Conspiracy to distribute marijuana in violation of 21 U.S.C. §§ 841(a)(1),
22
     841(b)(1)(B), and 846.
23
            Count II: Conspiracy to import marijuana in violation of 21 U.S.C. §§ 952(a), 960(b),
24
     and 963.
25

26

     DETENTION ORDER                                                                      15.13
     18 U.S.C. § 3142(i)                                                               Rev. 1/91
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01 Date of Detention Hearing:      July 26, 2005

02          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

03 based upon the factual findings and statement of reasons for detention hereafter set forth, finds:

04         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

05          (1)     Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that defendant

06 is a flight risk and a danger to the community based on the nature of the pending charges.

07 Defendant has not overcome these presumptions.

08          (2)     Defendant has stipulated to detention, but reserves the right to contest his

09 continued detention if there is a change in circumstances.

10          IT IS THEREFORE ORDERED:

11          (1)     Defendant shall be detained pending trial and committed to the custody of the

12                  Attorney General for confinement in a correction facility separate, to the extent

13                  practicable, from persons awaiting or serving sentences or being held in custody

14                  pending appeal;

15          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

16                  counsel;

17          (3)     On order of a court of the United States or on request of an attorney for the

18                  government, the person in charge of the corrections facility in which defendant

19                  is confined shall deliver the defendant to a United States Marshal for the purpose

20                  of an appearance in connection with a court proceeding; and

21          (4)     The Clerk shall direct copies of this Order to counsel for the United States, to

22                  counsel for the defendant, to the United States Marshal, and to the United States

23                  Pretrial Services Officer.



                                                          A
24                  DATED this 26th day of July, 2005.

25
                                                          JAMES P. DONOHUE
26
                                                          United States Magistrate Judge

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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